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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

WEST PALM BEACH DIVISION

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ease NO. 01~9013-C1V.-RYSKAMP w§ gin
Magistrate Judge Vitunac Q '¢;_ir , \
<26;_ row
§P ;<_>,
Luz-Carranza, et. a_l., vice :'
individually and on behalf of f .Q‘~~_ _ C> ""
all others similarly situated, A§>(A`;; va o

Plaintiffs,
vs.
Mecca Farms, Inc., _e_t. gl.,

Defendants.
/

PLAINTIFFS WITNESS LIST FOR EVIDENTIARY HEARING
IN EMPLOYER STATUS PHASE

Plaintiffs by and through their undersigned attomey, and pursuant to the Court’s March
13 Scheduling Order and April 17, 2002 Amended Scheduling Order, hereby submit their list of
potential witnesses to testify in the "employer status" evidentiary hearing commencing the two-
week trial period of February 10, 2003. The witnesses are:
l. Thomas Mecca

Mecca Faxms, Inc.

7965 Lantana Road

Lantana, Fl 33467
2. Lori Schwab

Mecca Farms, lnc.

7965 Lantana Road 1 _
Lanrana, Fl 33467 ./

3. Gaiy Smigiel 5

Mecca Farms, Inc.

ll

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lO.

ll.

7965 Lantana Road
Lantana, Fl 33467

l\/Iark Shaw

Mecca Farms, lnc.
7965 Lantana Road
Lantana, Fl 33467

Michael Macari
Mecca Farms, lnc.
7965 Lantana Road
Lantana, Fl 33467

Eila Granfors
Mecca Farms, Inc.
7965 Lantana Road
Lantana, Fl 33467

Mark Mecca
Mecca Farms, lnc.
7965 Lantana Road
Lantana, Fl 33467

Maria Sanchez

c/o M. Sanchez & Son, lnc.

7570 S. Federal Highway, Suite 7
Lantana, FL 33462

Rogerio Rodriguez

c/o M. Sanchez & Son, lnc.

7570 S. Federal Highway, Suite 7
Lantana, FL 33462

Gustavo Castillo

c/o M. Sanchez & Son, lnc.

7570 S. Federal Highway, Suite 7
Lantana, FL 33462

Jorge Flores

c/o M. Sanchez & Son, Inc.

7570 S. Federal Highway, Suite 7
Lantana, FL 33462

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12. Ramiro Ybarra
4619 Kirk Road
Lake Woth, FL 33461

l3. Jose Yzaguirre
14993 Noi“th Road
Loxahatchee, Fl 33470

14. Antonio Trejo
Mecca Farms, Inc.
7965 Lantana Road
Lantana, Fl 33467

15. Isabel Ramirez
323 Almeria Road. Apt 204
West Palm Beach, FL 33405

16. Salvador Soto
1627 Dorchester Place
Wellington, FL 33414

17. Carlos Ramos
4826 N. Springfield
Chicago, IL 60625
773-267-8749

18. Marcial Bartolon
Street address unknown
lndiantown, FL 34956

19. Bulmaro Perez
Street address unknown
Indiantown, FL 34956

20. Adolfo Perez
14906 Indianmound Street
Indiantown, FL 34956

Zl. Macario Hernandez
14906 Indianmound Street
lndiantown, FL 34956

22. Hector Godinez

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23.
24.
25.
26.
27.
28.
29.
30.
3l.

32.

17101 Magnolia Street
lndiantown, FL 34956

Elfego Paz
Street address unknown
lndiantown, FL 34956

Aristeo Mejia
14045 169m Drive
lndiantown, FL 34956

Elsa Gonzalez
14045 169th Drive
Indiantown, FL 34956

Martina Mejia
14045 169lh Drive
lndiantown, FL 34956

Magnolia Mejia
14045 169‘h Drive
Indiantown, FL 34956

Amadeo Mejia
14045 169‘h Drive
lndiantown, FL 34956

Sot`ia Vicente
14506 174th Court
lndiantown, FL 34956

Jesus Sanchez
1580 Osceola St.
Indiantown, FL 34956

Alejandra Ruiz
15274 Seminole Rd
lndiantown, FL 34956

Rosa Ruiz
15275 Seminole Rd
lndiantown FL 34956

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33. David Herrera
Street address unknown
lndiantown FL 34956

34. Humberto Luna
15025 Indianmound St.
Indiantown, FL 34956

35. Adela Saldana de la Cruz
14551 SW Esperanza Street
lndiantown, FL 34956

36. Francelia Hernandez
14507 Tumaini Box #18
lndiantown FL 34956

37. Virginia Perez Abad
14507 Tumaini Box #18
Indiantown, FL 34956

38. Idolina Perez Gonzalez
ll500 SW Kanner Hwy Lot 424
Indiantown, FL 34956

39. Elvin Guillen Samayoa
11500 SW Kanner Hwy Lot 424
Indiantown, FL 34956

40. Eduardo Darinel Guillen Samayoa
14128 Fox Rd
lndiantown, FL 34956

41. Angel Guillen Samayoa
14128 Fox Rd
lndiantown FL 34956

42. Cresencio Contreras
l 1500 SW Kanner Hwy, #306
lndiantown FL 34956

43. Vilda Velasquez
15145 SW Fox Street
lndiantown FL 34956

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44. Noelinda Hernandez
15841 SW 153rd Street
lndiantown FL 34956

45. Josefa Perez
P.O. Box 1601
lndiantown FL 34956

46. Italia Martin Perez
P.O. Box 1601
lndiantown FL 34956

47. Arturo Velazquez
Street address unknown
lndiantown FL 34956

48. Irma Angel
Street address unknown
lndiantown FL 34956

49. Delma Luz Carranza
P.O. Box 556
lndiantown, FL 34956

50. Oscar Torres
P.O. Box 556
Indiantown, FL 34956

51. Maria Ester Escobar Torres
1750 N. Congress Ave. Lot #12A
West Palm Beach FL 33409

52. Melvin Hemandez
1750 N. Congress Ave. Lot #21
West Palm Beach FL 33409

53. Oscar Hernandez
1750 N. Congress Ave. Lot #21
West Palm Beach FL 33409

54. Gloria Roblero Perez
425Nottingham Road, Apt. A

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West Palm Beach, FL 33405

55. David Matias
Canival, Cuilco
Huehuetenango, Guatemala

56. Alfredo Romero
323 Almeria Road, Apt 202
West Palm Beach, FL 33405

57. Alberto Carlos Berduo
425 8“‘ Street
West Palm Beach FL 33401

58. Mario Perez
425 8“‘ Street
West Palm Beach, FL 33401

59. Jose Arbey Santiago Vasquez
431 S’h Street
West Palm Beach, FL 33401

60. Jose Alvaro Santiago Vasquez
431 8"‘ Street
West Palm Beach, FL 33401

61. Jose Abenmar Santiago Maldonado
431 8"‘ Street
West Palm Beach, FL 33401

62. Rafael Gonzales
Majadas, Tacana
San Marcos, Guatemala

63. Javier Morales
c/o M. Sanchez & Son, Inc.
7570 S. Federal Hwy., Ste. 7
Lantana, FL 33462

64. Jesus Gonzalez
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7570 S. Federal Hwy., Ste. 7
Lantana, FL 33462

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65. lsaias Gonzalez
c/o M. Sanchez & Son, lnc.
7570 S. Federal Hwy., Ste. 7
Lantana, FL 33462

66. Vitalina Zacarias
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67. Enrique Cruz
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7570 S. Federal Hwy., Ste. 7
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68. Octavio Velasquez
c/o M. Sanchez & Son, lnc.
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Lantana, FL 33462

69. Jaime Velazquez
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7570 S. Federal Hwy., Ste. 7
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70. Macario Viatoro
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71. Rigoberto Velazquez
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72. Rafael Esteban
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73. Rocio Padilla
c/o M. Sanchez & Son, lnc.

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7570 S. Federal Hwy., Ste. 7
Lantana, FL 33462

74. Karina Perez
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Lantana, FL 33462

75. San Juana Gonzalez
c/o M. Sanchez & Son, Inc.
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Lantana, FL 33462

76. Pablo Lopez
Mecca Farms, Inc.
7965 Lantana Road
Lantana, Fl 33467

77. Leoncio Lopez
Mecca Farms, Inc.
7965 Lantana Road
Lantana, Fl 33467

78. Zimey Janse
140 W. 64lh Street
Hialeah, FL 33012

79 Mary Melendez
c/o M. Sanchez & Son, Inc.
7570 S. Federal Hwy., Ste. 7
Lantana, FL 33462

80. Melissa Morales
c/o M. Sanchez & Son, Inc.
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81. lris De Leon
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82. Maria Pellot
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7570 S. Federal Hwy., Ste. 7
Lantana, FL 33462

83. Sara Garido
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84. Donnie
c/o M. Sanchez & Son, lnc.
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85 . Juan Lopez
Mecca Farms, Inc.
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Lantana, Fl 33467

86. J ames Rodriguez
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Lantana, Fl 33467

87. Jose Rodriguez
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Lantana, Fl 33467

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QMA

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Gregory S. Schell
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Email: Cathleen@tloridalegal.org
Email: Greg@floridalegal.org

Attorneys for Plaintiffs

CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a copy of the foregoing was delivered via fax and first class
mail to Henry S. Wulf, Esq. of Carton Fields, P.A., 222 Lakeview Ave., Ste. 1400, West Palm
Beach, Fl 33401; and Don R. Boswell, Esq., Akers & Boswell, P.A., 2875 South Ocean Blvd.,
Suite 200, Palm Beach, FL 33480 this 16th day of September, 2002.

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athleen Czon

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